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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   LAI YING TSANG; SCOTT JEFFERSON,             Case No. 1:23-CV-00333-MWJS-
                                                KJM
                        Plaintiffs,
               vs.                              DECLARATION OF NATALIE K. TSE
   PORTER MCGUIRE KIAKONA, LLP;
   ASSOCIATION OF APARTMENT OWNERS              [IN SUPPORT OF PLAINTIFFS
   OF THE PACIFIC ISLANDER,                     MEMORANDUM IN OPPOSITION
                                                TO DEFENDANT’S MOTION FOR
                        Defendants.             SUMMARY JUDGMENT AND FOR
                                                ATTORNEYS’ FEES]




                       DECLARATION OF NATALIE K. TSE

              I, NATALIE K. TSE, declare and state as follows:

              1.     I am a licensed attorney in the State of Hawaii. I was born

   and raised in Hong Kong and am fluent in Cantonese as it is my native

   speaking language. This declaration is made on personal knowledge, except

   where indicated otherwise.

              2.     I interpreted Plaintiff Lai Ying “Kaddy” Tsang’s Declaration

   into Cantonese, which is also her native speaking language. She understands,

   agrees, and confirms all the statements contained in her Declaration are true

   and accurate.

              Declarant states under penalty of law that the above is true and

   correct.


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                           Signature page(s) to follow.]
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              Executed this 25th day of October 2024 in Honolulu, Hawaii.




                                       /s/__Natalie K. Tse_____________________
                                     NATALIE K. TSE, Esq.




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